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                        IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

Aero Services, Inc. aka Aero Plumbing               )
Services, Inc.,                                     )
                                                    )
                        Plaintiff,                  )       STIPULATION OF DISMISSAL WITH
                                                    )                 PREJUDICE
         v.                                         )
                                                    )
Main Street America Assurance Co.,                  )              C.A. No. 3:21-cv-02440-JFA
                                                    )
                        Defendant.                  )

         Pursuant to Rule 41 of the Federal Rules of Civil Procedure, Plaintiff Aero Services, Inc.

aka Aero Plumbing Services, Inc., and Defendant, Main Street America Assurance Co., through

their undersigned counsel, enter into this stipulation of dismissal as to all claims asserted by

Plaintiff against Defendant. The parties stipulate that all claims asserted in this action are hereby

dismissed with prejudice. Plaintiff and Defendant will each bear their own attorney’s fees and

costs.



s/ Lowell Bernstein                                     s/ Jennifer E. Johnsen
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Attorneys for Plaintiff,                                Attorneys for Defendant,
Aero Services, Inc. aka Aero                            Main Street America Assurance Co.
Plumbing Services, Inc.
                                                        Dated: October 11, 2021
Dated: October 11, 2021
